835 F.2d 1546
    Jane HODGSON, et al., Appellees,v.The STATE OF MINNESOTA, et al., Appellants.
    Nos. 86-5423, 86-5431.
    United States Court of Appeals,Eighth Circuit.
    Dec. 31, 1987.
    ON PETITION FOR REHEARING EN BANC
    
      1
      The panel's order of November 13, 1987, 835 F.2d 1545, vacating the judgment and opinion in the above-entitled case is hereby rescinded.  The panel reinstates the opinion and judgment of the court.
    
    
      2
      The petition for rehearing by the court en banc is granted;  the panel opinion and judgment entered thereon are vacated.  The case shall be argued to the court of appeals en banc and submitted on original briefs and record on February 12 at 9:00 a.m. in St. Paul, Minnesota, in the court of appeals Courtroom No. 1, 584 Federal Courts Building, 316 North Robert Street.  Each side will be given 30 minutes for oral argument.  Additional citations may be submitted to the court under Fed.R.App.P. 28(j).
    
    